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   Attachment A



    Excerpts from First Responses from Defendants
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   Attachment B


  Excerpts from Second Responses from Defendants
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                          Subpoena to Product Documents Response

Item 1: Channel Growth did not make any calls to 979 575 0107. Channel Growth acted as a
broker in selling leads to Capital Advance Solutions that were generated by a 3rd party. From
Channel Growth’s internal records and lead lists, we have no record of 979 575 0107 being
called by a 3rd party either. This 3rd party is overseas and is no longer in business. We were
not able to get a hold of any representative who formerly worked for this 3rd party to acquire any
additional documents or records.

Item 2: Channel Growth did not make any calls to the 979 area code. Channel Growth acted as
a broker in selling leads to Capital Advance Solutions that were generated by a 3rd party. From
Channel Growth’s internal records and lead lists, we have recorded 4 calls/leads that were
made to the 979 area code by a 3rd party. None of these calls were to 979 575 0107. The 3rd
party is overseas and is no longer in business. We were not able to get a hold of any
representative who formerly worked for this 3rd party to acquire any additional documents
records.

Item 3: We passed on 2,400 leads to Capital Advance Solutions in 2015-2016. Capital advance
solutions received an excel worksheet each week with the leads.

Item 4: We passed on 500 leads to Capital Advance Solutions in 2015-2016 from Texas.

Item 5: I can not locate any contracts between Channel Growth and Capital Advance Solutions.
I do not know that there were ever any signed agreements between Channel Growth and
Capital Advance Solutions. Capital Advance Solutions was aware of the TCPA compliance
guidelines that we had in place for our vendors.

Item 6: Channel Growth requires all companies who generate leads for it to comply with TCPA
guidelines. The guidelines they are required to follow are included on the following page.

Item 7: There has been absolutely no contact (written or otherwise) between Channel Growth
and any current or former employees/representatives of Capital Advance Solutions in 2019. I
have no records of communication with Capital Advance Solutions regarding compliance in
March/April of 2016.
